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June 15, 2016

VIA ECF

Honorable Alvin K. Hellerstein
United States District Court Judge
Southern District ofNeW York
500 Pearl Street

NeW York, NeW York 10007

Re: Scott Browrz, et al. v. LVSS Inc., et al.
Civil Case No. 16CV2294 (AKH)

Dear Judge Hellerstein:

We represent Plaintiffs in the above-referenced matter. We Write to respectfully request that the
Court schedule an Initial Conference pursuant to F.R.C.P. §16.

Thank you for your attention to this matter.
Respectfully submitted,

/s/ D. Maimon Kirsehenbaum
D. Maimon Kirschenbaum

